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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

   UNITED STATES OF AMERICA

   v.                                   Case No.: 3:07-cr-211-VMC-MCR

   RAYMOND BENJAMIN HOLT, JR.

                                    /

                                   ORDER

         This matter comes before the Court upon consideration of

   pro se Defendant Raymond Benjamin Holt, Jr.’s Motion for

   Compassionate Release (Doc. # 50), filed on January 27, 2021.

   The United States responded on February 8, 2021. (Doc. # 52).

   For the reasons set forth below, the Motion is denied.

   I.    Background

         On April 28, 2008, the Court sentenced Holt to 210

   months’ imprisonment, followed by a life term of supervised

   release, for transportation of child pornography by computer

   in interstate commerce. (Doc. # 27). Holt is fifty years old

   and his projected release date from FCI Miami is August 4,

   2022. (Doc. # 52 at 1).

         In his Motion, Holt requests compassionate release under

   Section 3582(c)(1)(A)(i), as amended by the First Step Act,

   because of the COVID-19 pandemic and his underlying health



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   conditions,      which    allegedly         include   asthma,    allergies,

   obesity, high cholesterol, hypertension, Type II diabetes,

   sleep apnea, and degenerative discs. (Doc. # 50 at 1). Holt

   also    notes    that    he    suffers      from   “Persistent   Depressive

   Disorder,       Psychosocial      and       Environmental   problems     and

   Borderline Personality Disorder.” (Id.). Alternatively, Holt

   requests that he be placed on home confinement. (Id. at 2).

   The United States has responded (Doc. # 52), and the Motion

   is now ripe for review.

   II.    Discussion

          Holt seeks compassionate release or, in the alternative,

   a modification of “his term of sentence such that he could

   serve the remainder of his sentence on Home Confinement.”

   (Doc. # 50 at 2). The Court will address each request in turn.

            A.     Request for Compassionate Release

          The United States concedes that Holt has exhausted his

   administrative remedies but argues that the Motion should be

   denied on the merits. (Doc. # 52 at 3-4). The Court concludes

   that, even if Holt has exhausted his administrative remedies,

   the    Motion    is   denied    because      his   circumstances   are   not

   extraordinary and compelling.

          A term of imprisonment may be modified only in limited



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   circumstances. 18 U.S.C. § 3582(c). Section 3582(c)(1)(A)(i)

   states that:

         the court, upon motion of the Director of the Bureau
         of Prisons, or upon motion of the defendant after
         the    defendant    has    fully    exhausted    all
         administrative rights to appeal a failure of the
         Bureau of Prisons to bring a motion on the
         defendant’s behalf or the lapse of 30 days from the
         receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may
         reduce the term of imprisonment . . . after
         considering the factors set forth in section
         3553(a) to the extent they are applicable, if it
         finds that [ ] extraordinary and compelling reasons
         warrant such a reduction . . . and that such a
         reduction is consistent with the applicable policy
         statements issued by the Sentencing Commission.

   18 U.S.C. § 3582(c)(1)(A)(i). “The First Step Act of 2018

   expands the criteria for compassionate release and gives

   defendants the opportunity to appeal the Bureau of Prison’s

   denial of compassionate release.” United States v. Estrada

   Elias, No. 6:06-096-DCR, 2019 WL 2193856, at *2 (E.D. Ky. May

   21, 2019) (citation omitted).

         The Sentencing Commission has set forth examples of

   qualifying     “extraordinary     and   compelling    reasons”    for

   compassionate release, including but not limited to: (1)

   terminal   illness;    (2)   a   serious   medical   condition   that

   substantially diminishes the ability of the defendant to

   provide self-care in prison; or (3) the death of the caregiver



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   of the defendant’s minor children. USSG § 1B1.13, comment.

   (n.1).     Holt     bears        the     burden     of     establishing         that

   compassionate release is warranted. See United States v.

   Heromin, No. 8:11-cr-550-VMC-SPF, 2019 WL 2411311, at *2

   (M.D.    Fla.    June     7,   2019)     (“Heromin       bears   the    burden    of

   establishing that compassionate release is warranted.”).

           Although    Holt       alleges       that   his    underlying         health

   conditions, “Asthma, Allergies, Obesity, High Cholesterol,

   Hypertension, Type II Diabetes, Sleep Apnea, and Degenerative

   Discs,”    combined       with    the    COVID-19        pandemic,     constitute

   extraordinary       and    compelling         circumstances,       he    has     not

   demonstrated a serious medical condition that substantially

   diminishes his ability to care for himself in his facility.

   See USSG § 1B1.13, comment. (n.1); see also United States v.

   Thompson, 984 F.3d 431, 434-45 (5th Cir. 2021) (affirming the

   district court’s denial of compassionate release for an obese

   inmate     who     was     diagnosed         with   hypertension        and     high

   cholesterol, and had previously suffered from a stroke);

   United States v. Hardy, 470 F. Supp. 3d 61, 62-63 (D. Mass

   2020) (denying compassionate release for an inmate in his

   mid-fifties       who    suffered      from    hypertension,      sleep       apnea,

   diabetes, and asthma); United States v. Vurgich, No. 18-34-



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   RGA, 2020 WL 4335783, at *3-4 (D. Del. July 28, 2020) (denying

   a prisoner’s motion for compassionate release despite his

   alleged diagnoses of “asthma, lower back pain, depression,

   anxiety, acid reflux, [and] arthritis”). To the contrary,

   Holt’s medical records indicate that his conditions are being

   monitored and treated. (Doc. # 52-1). Accordingly, Holt has

   not     shown    an   extraordinary      and   compelling     reason    that

   justifies compassionate release and his Motion is denied.

             B.     Request for Home Confinement

           In the alternative, Holt requests that the Court modify

   his term of imprisonment so that he may complete his sentence

   while on home confinement. (Doc. # 50 at 2). However, the

   Court has no authority to direct the Bureau of Prisons (“BOP”)

   to place Holt in home confinement because such decisions are

   committed solely to the BOP’s discretion. See United States

   v. Calderon, 801 F. App’x 730, 731-32 (11th Cir. 2020) (per

   curiam) (explaining that district courts lack jurisdiction to

   grant early release to home confinement pursuant to the Second

   Chance Act, 34 U.S.C. § 60541(g)(1)(A)). Once a court imposes

   a sentence, the BOP is solely responsible for determining an

   inmate’s place of incarceration to serve that sentence. See

   Tapia    v.     United   States,   564    U.S.   319,   331    (2011)    (“A



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   sentencing court can recommend that the BOP place an offender

   in a particular facility or program . . . [b]ut decision

   making authority rests with the BOP.”); 18 U.S.C. § 3621(b)

   (“The    [BOP]   shall   designate     the place    of the    prisoner’s

   imprisonment[.]”).       Therefore,      Holt’s     request   for     home

   confinement      falls   outside       Section    3582(c)’s   grant    of

   authority, and the Motion is denied as to this request.

           Accordingly, it is

           ORDERED, ADJUDGED, and DECREED:

           Defendant Raymond Benjamin Holt, Jr.’s pro se Motion for

   Compassionate Release (Doc. # 50) is DENIED.

           DONE and ORDERED in Chambers, in Tampa, Florida, this

   5th day of March, 2021.




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